                               Case 2:17-cv-03754-JHS Document 1 Filed 08/22/17 Page 1 of 19



·:h~JS':·,:::,.,.hod.JHS=m<,oo horefil~~~~~:~~!8:!,~!~,re ofploodC""'tJ:Sk:.~25~~
 provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is reqmred for the use of the Clerk of Court for the
 purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEX'I' PAGE OF THIS FORM.)
 I. (a) PLAINTIFFS                                                                                              DEFENDANTS
 John Rider                                                                                                    John Sauls, et al.

     (b) County of Residence of First Listed
                                   (EXCEPT JN U.S.
                                                         ~..._.,.,. ...,n~~~i                               1---NoTE:      IN LAND CONDEMNATION CASES, USE THE LOCATlON OF
                                                                                                                           THE TRACT OF LAND INVOLVED.

   ( C) Attorneys (Firm Name, Address, and Telephone Number)                                                    Attorneys (l[Known)
 Va1erie A. Pedicone, Esq., Spivack & Spivack                                                                 Matthew J. Mccolgan, Esq., German, Gallagher & Murtagh
 1528 Walnut Street, Suite 710                                                                                200 S. Broad Street, Suite 500
 Philadelphia, PA 19102 (215) 546-0005                                                                        Philadelphia, PA 19102     (215) 545-7700
 II. BASIS OF JURISDICTION (Placean "X"inOneBoxOnly)                                              III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" in One Box for Plaintiff
                                                                                                            (For Diversity Cases   OnfJ;L;                                      and One Box for Defendant)
 0 I     U.S. Government                  0 3    Federal Question                                                                  ~              ~                                            PTF         DEF
            Plaintiff                       ~overnment                   Not a Party)                 Citizen of This State/"           IX   I   _i:;v I   Incorporated or Principal Place      0 4        04
                                                                                                                                                             of Business In This State

 0 2     U.S. Government
            Defendant
                                                                                                      Citizen of Another State          0 2      0     2   Incorporated and Principal Place
                                                                                                                                                              of Business In Another State      ~
                                                                                                      Citizen or Subject of a           0 3      0     3   Foreign Nation                       0 6        0 6
                                                                                                        Foreign Coun1
. IV. NATURE OF SUIT (Place an ''X" in One Box Only)                                                                                              Click here for: Nature of Suit Code Descriptions.
          >CONTRACT0Will.illilii'L: ·'.·.".J:nm> ·•rt. "TORTS-!11i!11ihN                              '1lil! FORFElTURlUPENAilT~i ' • ··MNKR.tmrCY ""iiiiWTHER1STA'Ett;EES
 0   110 Insurance                      PERSONAL INJURY                     PERSONAL INJURY           0 625 Drug Related Seizure             0 422 Appeal 28 USC 158    0 375 False Claims Act
 0   120 Marine                       0 3 IO Airplane                     0 365 Personal lnjlll)' -         ofProperty21 USC881              0 423Withdrawal            0 376QuiTam(31 USC
 0   130 Miller Act                   0 315 Airplane Product                     Product Liability    0 690 Other                                  28 USC 157                  3729(a))
 0   140 Negotiable Instrument               Liability                    O 367 Health Care/                                                                            0 400 State Reapportionment
 0   150 Recovety of Overpayment      0 320 Assault, Libel &                    Pharmaceutical                                           •              ,            "" 0 410 Antitrust
         & Enforcement ofJudgment            Slander                            Personal lnjlll)'                                         0 820 Copyrights              0 430 Banks and Banking
 0   151 Medicare Act                 0 330 Federal Employers'                  Product Liability                                         0 830 Patent                  0 450 Commerce
 0   152 Recovecy of Defaulted               Liability                    0 368 Asbestos Personal                                         0 835 Patent - Abbreviated    0 460 Deportation
         Student Loans                                                           lnjlll)' Product                                               New Drug Application    0 470 Racketeer Influenced and
         (Excludes Veterans                                                      Liability                                                0 840 Trademark                     Corrupt Organizations
 0   153 Recovety of Overpa:                                               PERSONAL PROPERTY                          -l\.'BOR'.; W•i <S®·~OCIA•~'E •. "w•TY"·t\\='= 0 480 Consumer Credit
         of Veteran's Benefit:                                            0 370 Other Fraud           0   710 Fair Labor Standards        0 861 HIA (1395fi)            0 490 Cable/Sat TV
 0   160 Stockholders' Suits                                              0 371 Truth in Lending                Act                       O 862 Black Lung (923)        0 850 Securities/Commodities/
 0   190 Other Contract                                                   0 380 Other Personal        0   720 Labor/Management            0 863 DIWC/DIWW (405(g))             Exchange
 0   195 Contract Product Liability                                             Property Damage                 Relations                 0 864 SSID Title XVI          0 890 Other Statutoty Actions
 0   196 Franchise                          Injlll)'                      0 385 Property Damage       0   740 Railway Labor Act           0 865 RSI (405(g))            0 891 Agricultural Acts
                                      0 362 Personal lnjlll)' -                 Product Liability     0   751 Family and Medical                                        0 893 Environmental Matters
                                            Medical Maloractice                                                 Leave Act                                               0 895 Freedom of Information
                                           CLVIL RIGHJFS.        :::+~    .,pRiSONER'\PETITIONS'"J!I 0    790 Other Labor Litigation       4"\FEDERAIJJI'AXiSULTS· ·           Act
 0   210 Land Condemnation            0 440 Other Civil Rights                Habeas Corpus:         0    791 Employee Retirement        0 870 Taxes (U.S. Plaintiff    0 896 Arbitration
 0   220 Foreclosure                  0 441 Voting                        0 463 Alien Detainee                 Income Security Act              or Defendant)           0 899 Administrative Procedure
 0   230 Rent Lease & Ejectrnent      0 442 Employment                    0 510 Motions to Vacate                                        0 871 IRS-Third Party                Act/Review or Appeal of
 0   240 Torts to Land                0 443 Housing/                             Sentence                                                       26 use 7609                   Agency Decision
 0   245 Tort Product Liability             Accommodations                0 530 General                                                                                 0 950 Constitutionality of
 0   290 All Other Real Property      0 445 Amer. w/Disabilities -        0 535 Death Penalty              · · IMMIGQ;':IJIO~f:\                                              State Statutes
                                            Employment                      Other:                    0   462 Naturalization Application
                                      0 446 Amer. w/Disabilities -        0 540 Mandamus & Other      0   465 Other Immigration
                                            Other                         0 550 Civil Rights                   Actions
                                      O 448 Education                     0 555 Prison Condition
                                                                          O 560 Civil Detainee -
                                                                                Conditions of
                                                                                Confinement


01                                                           0    3      Remanded from           0 4 Reinstated or      0 5 Transferred from               0 6 Multidistrict            0 8 Multidistrict
                                                                         Appellate Court             Reopened               Another District                   Litigation -                 Litigation -
                                                                                                                                 (specifY)                     Transfer                    Direct File
                    Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
VI CAUSE OF ACTION 128 U.S.C. Sections 1441 and 1446
  •                 Bnef descnptton of cause:
                    Plaintiff claims an alleaed MVA caused his oersonal iniuries.
VII. REQUESTED IN   0 CHECK IF THIS IS A CLASS ACTION                     DEMAND$                                                                                                             complaint:
     COMPLAINT:         UNDER RULE 23, F.R.Cv.P.                             50,000.00                                 JURY DE                                                                  ONo
VIII. RELATED CASE(S)
                                                (See instructions):
      IF ANY                                                             JUDGE
DATE                                                                         SIONA TURE OF ATTORNEY
08/22/2017
FOR OFFICE USE ONLY

     RECEIPT#                      AMOUNT                                        APPL YING IFP                              JUDGE                                MAG.JUDGE



                                                                                                                                AUG 22 2017
                                       Case 2:17-cv-03754-JHS Document 1 Filed 08/22/17 Page 2 of 19
              .                                          d''HSNITED STATES DISTRICT COURT                                                                                       APPENDIX F
 FOR THE EASTERN DISTRICT OF PENNSY                                        GNATION FORM to be used by counsel to indicate the category of the case for the purpose of
 assignment to .a~propriate calendar. .                         .                                                                      ._ Ff(j           ~     ·                   5
Address of Plaintiff:         2608 S. Sylmer Street, Philadelphia, PA 19102                                                                            11                 .3 7 4
Address of Defendant:            1-71 North Avenue East, Elizabeth, NJ 07201

Place of Accident, Incident or Transaction:        -'-9_..30_0_A_sh_t_o_n_R_o_ad~,,_P_h_il_a-'-d""el.._p_hi-"a,'-P_A
                                                                                                                  _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                                                       (Use Reverse Side For Additional Space)

Does this civil action involve a nongovernmental corporateparty with any parent corporation and any publicly held corp,                   owning 10% or more of its stock?

(Attach two copies of the Disclosure Statement Form in accordance with Fed.R.Civ.P. 7.l(a))                       YesO


Does this case involve multidistrict litigation possibilities?                                                    YesO
RELATED CASE, IF ANY:

Case Number:                                               Judge:                                                 Date Termiiiiifed:

Civil Cases are deemed related whenyes is answered to any of the follcwing questions:

1. Is this case related to property included in an earlier numbered suit pending or within one year previously terminat'                         is court?
                                                                                                           YesO

2. Does this case involve the same is9.le of fact or grow out of the same transaction as a prior suit pending or within tne year previtusly terminated action in this court?
                                                                                                            Yes 0         NoX

3. Does this case involve the validity or infrilgement of a patent already in suit or any earlier numbered case pendi                            year previously terminated action in this court?
                                                                                                           YesO

4. Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights case filed by the s
                                                                                                               YesO


CIVIL: (PLACE ..Jin ONE CATEGORY ONLY)
A Federal Question Cases:                                                                     B. Diversity Jurisdiction Cases:
                                                                                               L   0   Insurance Contract and Other Contracts
I.    0     Indemnity Contract, Marine Contract, and All Other Contracts

2.     0     FELA                                                                             2.   0   Airplane Personal Injury

3.     0     Jones Act-Personal Injury                                                        3.   0   Assault, Defamation

       0

                                                                                            @-
4.           Antitrust                                                                                      ne Personal Injury

5.     0     Patent                                                                                        or Vehicle Personal Injury

6.     0     Labor-Management Relations                                                                    er Personal Injury (Please specify)

7.     0     Civil Rights                                                                     7.~roducts Liability
8.     0     Habeas Corpus                                                                    8.   0   Products Liability - Asbestos

9.     0     Securities Act(s) Cases                                                          9.   0   All other Diversity Cases
                                                                                                       (Please specify)
I 0.   0     Social Security Review Cases

11. 0 All other Federal Question Cases
       (Please specify)
                                                                         ARBITRATION CERTIFICATION
                                                                                (Check appropriate Category)
 I,                                                             , counsel of record do hereby certify:
           Pursuant to Local Civil Rule 53.2, Section 3(c)(2), that to the best of my knowledge and belief, the damages recoverable in this civil action case exceed the sum of
           $150,000.00 exclusive of interest and costs;
0          Relief other than monetary damages is sought.

Date:
                                                                               Attorney-at-Law                                                                            Attorney LD.#

                                              NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.RC.P. 38.

I certify that, to my knowledge, the within case isMotelate                                            · 'hin one year previously terminated action in this court except as noted
above.
                                                                 '
Date:          8/22/17                             _   __,,.:___:_;1;_.=----1,f--1'---4'~----------                                                                 319484

1511766_1                                                                                                          AUG 22 20H
                     Case 2:17-cv-03754-JHS Document 1 Filed 08/22/17 Page 3 of 19

FORTHF
assignr

Acl
                              J H S i E UNITED STATES DISTRICT COURT
                                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                               CASE MANAGEMENT TRACK DESIGNATION FORM

            JOHN RIDER                                                                             CIVIL ACTION
                                    v.

           JOHN SAULS, et al.                                                                  NO.
                                                                                                    17       3754
          In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
          plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
          filing the complaint and serve a copy on all defendants. (See§ 1:03 of the plan set forth on the reverse
          side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
          designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
          the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
          to which that defendant believes the case should be assigned.

          SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

          (a) Habeas Corpus - Cases brought under 28 U.S.C. § 2241 through§ 2255.                                 ( )

          (b) Social Security - Cases requesting review of a decision of the Secretary of Health
              and Human Services denying plaintiff Social Security Benefits.                                      ( )

          (c) Arbitration- Cases required to be designated for arbitration under Local Civil Rule 53.2.           ( )

          (d) Asbestos - Cases involving claims for personal injury or property damage from
              exposure to asbestos.                                                                               ( )

          (e) Special Management - Cases that do not fall into tracks (a) through (d) that are
              commonly referred to as complex and that need special or intense management by
              the court. (See reverse side of this form for a detailed explanation of special
              management cases.)

          (f) Standard Management- Cases that do not fall into any one of the other tracks.



             s122L17                     Matthew J. McColgan. Esq.          ~--=D~e~f~e~n~d~a=n~t~s::-~~~~~~
          Date                              Attorney-at-law                          Attorney for

             ill22      545-7700         ill22 732-41:82                             mccolganm@ggmfirm.com

          Telephone                          FAX Number                              E-Mail Address


          (Civ. 660) 10/02




                                                                       ~HrC:
                                                                       '
                                                                               71
                                                                               ·-·
                                                                                       1~~1.
                                                                                       -   ___,,
              Case 2:17-cv-03754-JHS Document 1 Filed 08/22/17 Page 4 of 19




                      IN T H B STATES DISTRICT COURT FOR THE
                          EASTERN DISTRICT OF PENNSYLVANIA



  JOHN RIDER                                         CIVIL ACTION
  2608 S. Sylmer Street
  Philadelphia, PA 19142                             DOCKET NO.
                                                                     ll 7     3754
                 v.                                  JURY TRIAL DEMANDED

  JOHN SAULS (sometimes referred to as John
  Saul)
  1-71 North Avenue East
 Elizabeth, NJ 07201
             And
 NEW ENGLAND MOTOR FREIGHT
 1-71 North Avenue East
 Elizabeth, NJ 07201
             And
 NEW ENGLAND MOTOR FREIGHT
 LOGISTICS
 1-71 North Avenue East
 Elizabeth, NJ 07201
             And
 NEW ENGLAND MOTOR FREIGHT
 WORLD TRANSPORT
 1-71 North Avenue East
 Elizabeth, NJ 07201
             And
 EASTERN FREIGHT WAYS, INC.
 1-71 North Avenue East
 Elizabeth, NJ 07201
             And
 CARRIER INDUSTRIES, INC.
 1-71 North Avenue East
 Elizabeth, NJ 07201
             And
 APEX LOGISTICS
 1-71 North Avenue East
 Elizabeth, NJ 07201


                         NOTICE OF REMOVAL OF DEFENDANTS

TO:         THE HONORABLE JUDGES OF THE UNITED STATES DISTRICT COURT FOR
            THE EASTERN DISTRICT OF PENNSYLVANIA


151169lvl
             Case 2:17-cv-03754-JHS Document 1 Filed 08/22/17 Page 5 of 19




        Pursuant to the provisions of 28 U.S.C. §§ 1441(a) and 1446, Defendants, John Sauls,

New England Motor Freight, New England Motor Freight Logistics, New England Motor Freight

World Transport, Eastern Freight Ways, Inc., Carrier Industries, Inc. and Apex Logistics

(hereafter "Defendants") hereby file this Notice of Removal of this cause from the Court of

Common Pleas, Philadelphia County, Pennsylvania to the United States District Court for the

Eastern District of Pennsylvania. The grounds for removal are as follows:

                                       INTRODUCTION

        1.      On or about July 26, 2017, Plaintiff, John Rider (hereinafter "Plaintiff')

commenced this action by filing a Complaint in Philadelphia Court of Common Pleas naming

Defendants as the only defendants. The action was docketed with a case identification number

of 170702782.

        2.      Pursuant to 28 U.S.C. 1446(a) a copy of all Process and Pleadings served upon

Defendants (the Complaint and Notice to Defend) filed in the Philadelphia Court of Common

Pleas are attached hereto and marked collectively as Exhibit "A."

        3.      In his Complaint, Plaintiff alleges that Defendants operated and reversed a

commercial truck into a parked, commercial truck which Plaintiff occupied causing certain

injuries. Plaintiff makes claims of negligence and negligent entrustment and hiring. See Exhibit

A.

        4.      Plaintiff contends that this alleged motor vehicle accident caused him to suffer

"serious and permanent personal injuries" which include left shoulder injuries, neck injuries,

back injuries, as well as serious impairments of bodily functions and/or permanent serious




                                                2
1511691vl
             Case 2:17-cv-03754-JHS Document 1 Filed 08/22/17 Page 6 of 19




disfigurement and/or aggravation of pre-existing conditions, and other ills and injuries. See

Exhibit A, at ii 20.

                                    DIVERSITY JURISDICTION EXISTS

        5.          This suit is an action of which this Court has original jurisdiction under the

provisions of Title 28, United States Code, Section 1332, and is one that may be removed to this

Court under the provisions of Title 28, United States Code, Sections 1441 and 1446.

        6.          Plaintiff has alleged in his Complaint that he resides at 2608 S. Sylmer Street,

Philadelphia, Pennsylvania 19142.         See Exhibit A, at   ii   1. Plaintiff is therefore a citizen of

Pennsylvania for purposes of determining diversity jurisdiction.

        7.      Defendant, New England Motor Freight, Inc. (incorrectly identified as "New

England Motor Freight Logistics, New England Motor Freight World Transport, Eastern Freight

Ways, Inc., Carrier Industries, Inc. and Apex Logistics") is a New Jersey corporation with its

principal place of business at 1-71 North Avenue East, Elizabeth, New Jersey 07201. Defendant,

John Sauls (incorrectly named as both "John Saul and John Sauls") has a residence located in

Palmyra, NJ, 08065. For the purposes of determining diversity, Defendants are deemed to be

citizens ofNew Jersey. 28 U.S.C. §1332(c)(l). Thus, pursuant to 28 U.S.C. §1332(c)(l),

diversity jurisdiction exists.

                                  A NOTICE OF REMOVAL IS TIMELY

        8.      Pursuant to 28U.S.C.§1146(b)(l) the Notice of Removal must be filed within

thirty (30) days of the date on which the defendant receives the initial pleading setting forth the

claim for relief.

        9.      Defendants were served with Plaintiffs Complaint on August 1, 2017 and

therefore this Notice of Removal is timely.


                                                   3
1511691vl
              Case 2:17-cv-03754-JHS Document 1 Filed 08/22/17 Page 7 of 19




                                 AMOUNT IN CONTROVERSY

        10.      Plaintiff contends that this alleged motor vehicle accident caused him to suffer

"serious and permanent personal injuries" which include left shoulder injuries, neck injuries,

back injuries, as well as serious impairments of bodily functions and/or permanent serious

disfigurement and/or aggravation of pre-existing conditions, and other ills and injuries. See

Exhibit A, at ~ 20. Plaintiff further alleges he has suffered great financial detriment and loss, and

has in the past, is presently, and may in the future suffer great pain, anguish, sickness and agony,

and will continue to suffer same for an indefinite time into the future. Id. at     ~21.   He further

claims to have suffered emotional injuries and as well as a great loss of earnings and/or earning

capacity. Id. at ~~22- 23.

        11.      While Plaintiff does not state a dollar figure in his Complaint, he does plead

damages in excess of the jurisdictional arbitration limit in Philadelphia County of $50,000.00.

        12.      Upon information and belief, Plaintiff has been paid approximately $40,000.00 in

workers' compensation benefits, accruing a lien in the same amount.

        13.      "[A] defendant's notice of removal need include only a plausible allegation that

the amount in controversy exceeds the jurisdictional threshold." Dart Cherokee Operating Basin

Co., LLC v. Owens, 135 S. Ct. 547, 554 (2014). See also Angus v. Shiley, Inc., 989 F.2d 142,

145-146 (3rd Cir. 1993) (the "amount in controversy is not measured by the low end of an open-

ended claim, but rather by a reasonable reading of the value of the rights being litigated").

        14.      Although Defendants deny Plaintiffs allegations and deny that they are liable to

Plaintiff, the allegations in the Complaint plainly indicate that the amount in controversy exceeds

$75,000.




                                                 4
1511691vl
              Case 2:17-cv-03754-JHS Document 1 Filed 08/22/17 Page 8 of 19




        15.      This Court has original jurisdiction over this matter pursuant to 28 U.S.C.§

1332(a) because the amount of controversy, exclusive of interest and costs, exceeds $75,000.00.

                                REMOVAL IS OTHERWISE PROPER

        16.      Written notice of the filing of the Notice of Removal will be promptly served on

plaintiffs counsel and a copy will be promptly filed with the Clerk of Common Pleas of

Philadelphia County, pursuant to 28 U.S.C. § 1446 (d).

        WHEREFORE, Defendants John Sauls, New England Motor Freight, New England

Motor Freight Logistics, New England Motor Freight World Transport, Eastern Freight Ways,

Inc., Carrier Industries, Inc. and Apex Logistics respectfully request that this matter be removed

to the United States District Court for the Eastern District of Pennsylvania from the Court of

Common Pleas, Philadelphia County, Pennsylvania.



                                              GERMAN, GALLAGHER & MURTAGH
                                                                                    ..

                                              By:     Isl~~
                                                     GARY R. GREMMINGER, ESQUIRE
                                                     MATTHEW J. MCCOLGAN, ESQUIRE
                                                     Attorneys for Defendants
                                                     John Sauls, New England Motor Freight,
                                                     New England Motor Freight Logistics, New
                                                     England Motor Freight World Transport,
                                                     Eastern Freight Ways, Inc., Carrier
                                                     Industries, Inc. and Apex Logistics




                                                 5
151169lvl
              Case 2:17-cv-03754-JHS Document 1 Filed 08/22/17 Page 9 of 19




                                   CERTIFICATE OF SERVICE

            I, Matthew J. McColgan, Esquire, counsel for Defendants hereby certify that a true and

correct copy of the foregoing, Notice of Removal of Defendants was served via the Court's

Electronic Filing System (ECF) for review to the following:



                                     Valerie A. Pedicone, Esquire
                                    SPIVACK & SPIVACK, LLC
                                     1528 Walnut Street, Suite 710
                                       Philadelphia, PA 19102
                                        Attorney for Plaintiff




                                               GERMAN, GALLAGHER & MURTAGH


                                               By:     Isl Matthew J. McColgan, Esquire
                                                      GARY R. GREMMINGER, ESQUIRE
                                                      MATTHEW J. MCCOLGAN, ESQUIRE
                                                      Attorneys for Defendants
                                                      John Sauls, New England Motor Freight,
                                                      New England Motor Freight Logistics, New
                                                      England Motor Freight World Transport,
                                                      Eastern Freight Ways, Inc., Carrier
                                                      Industries, Inc. and Apex Logistics

Date: August 22, 2017




151169lvl
Case 2:17-cv-03754-JHS Document 1 Filed 08/22/17 Page 10 of 19




                     V LIHIHX3
            Case 2:17-cv-03754-JHS Document 1 Filed 08/22/17 Page 11 of 19




SPIVACK & SPIVACK, l,LC                 THIS IS NOT AN ARBITRATION COl\,1fL~JNT
Valerie A. Pedicone, Esquire            AN ASSESSMENT OF DAMAGES t ,,
Identification No. 90482                IS REQUIRED.
1528 Walnut Street, Suite 710
Philadelphia, PA 19102
Phone: (215) 546-0005
Fax: (215) 546-5269
E-mail: vapedicone@spivackandspivack.com
                                              Attorney for Plaintiffs

JOHN RIDER                                  IN THE COURT OF COMMON PLEAS
2608 S. Sylmer Street                       PHILADELPHIA COUNTY
Philadelphia, Pennsylvania 19142

       v.                                   JULY TERM, 2017

John Sauls (sometimes referred to as John
Saul)
1-71 North Avenue East
Elizabeth, New Jersey 07201
        and
NEW ENGLAND MOTOR FREIGHT                   NO.: _ _ __
1-71 North Avenue East
Elizabeth, New Jersey 07201
        and
NEW ENGLAND MOTOR FREIGHT
LOGISTICS
1-71 North Avenue East
Elizabeth, New Jersey 07201
        and
NEW ENGLAND MOTOR FREIGHT
WORLD TRANSPORT
1-71 North A venue East
Elizabeth, New Jersey 07201
       and
EASTERN FREIGHT WAYS, INC.
1-71 North Avenue East
Elizabeth, New Jersey 07201
       and
CARRIER INDUSTRIES, INC.
1- 71 North Avenue East
Elizabeth, New Jersey 07201
       and
APEX LOGISTICS
1-71 North Avenue East
Elizabeth, New Jersel 07201


                                                                     Case ID: 170702782
       Case 2:17-cv-03754-JHS Document 1 Filed 08/22/17 Page 12 of 19




                 CIVIL ACTION - MOTOR VEHICLE ACCIDENT

         NOTICE TO DEFEND                                       AVISO

        You have been sued in Court. If                Le han demandado a usted en la
you wish to defend against the claims           corte. Si usted qulere defenderse de
set forth in the following pages, you           estas demandas expuestas en las
must take action within twenty (20) days        paginas sigulentes, usted tiene veinte
after this Complaint and Notice are             (20) dias de plaza al partir de la fecha
served, by entering a written                   de la demanda y la notificacion. Hace
appearance personally or by attorney            falta asentar una comparencia escrita o
and filing in writing with the Court your       en persona o con un abogado y
Defenses or objections to the claims set        entregar a fa carte en forma escrita sus
forth against you. You are warned that          defensas o sus objeciones a las
if you fail to do so the case may               demandas en contra de su persona.
proceed without you and a judgment              Sea avisado que sl usted no se
may be entered against you by the               deflende, la carte puede decidir a favor
Court without further notice for any            del demandante y requlere que usted
money claimed In the Complaint or for           cumpla con todas las provisiones de
any other claim or relief requested by          esta demand.       Usted puede perder
the Plaintiff. You may lose money or            dinero o sus propiedades u otros
property or other rights important to           derechos lmportantes para usted.
you.
                                                     LLEVE ESTA DEMANDA A UN
      YOU SHOULD TAKE THIS PAPER                ABOGADOINMEDIATAMENTE SINO
TO YOUR LAWYER AT ONCE. IF YOU                  TIENE ABOGADO 0 SI NO TIENE EL
DO NOT HAVE A LA WYER OR CANNOT                 DINERO SUFICIENTE DE PAGAR TAL
AFFORD ONE, GO TO OR TELEPHONE                  SERVICIO.  VAYA EN PERSONA 0
THE OFFICE SET FORTH BELOW TO                   LLAME POR TELEFONO A LA OF/CINA
FIND OUT WHERE YOU CAN GET HELP.                CUYA DIRECCION SE ENCUENTRA
                                                ESCRITA ABAJO PARA AVERIGUAR
  THE PHILADELPHIA COUNTY BAR                   DONDE SE PUEDE CONSEGUIR
            ASSOCIATION                         ASISTENCIA LEGAL.
   Lawyer's Referral & Information
               Service                           ASOCIACION DE LICENCIADOS DE
    1101 Market Street, 11th Floor                           FlLADELF/A
     Philadelphia, Pennsylvania                 Servicio De Referencia E. lnformacion
            (215) 238-6300                                       Legal
          TTY (215) 451·6197                        1101 Market Street, 11th Floor
                                                         Filadelfla, PA 19107
                                                            (215) 238-6333
                                                          TTY (215) 451-6197




                                            2
                                                                                Case ID: 170702782
             Case 2:17-cv-03754-JHS Document 1 Filed 08/22/17 Page 13 of 19




                                    PLAINTIFF'S COMPLAINT

        1.       Plaintiff, John Rider, is a resident of the Commonwealth of Pennsylvania, residing

at the address Jisted in the caption of this Complaint.

       2.        Upon information and belief, Defendant, John Sauls sometimes referred to as John

Sau] (hereinafter "John Sauls"), is an adult individual serviced at the address listed in the caption of

this Complaint.

       3.        Upon information and belief, Defendant, New England Motor Freight

(hereinafter "NEMF"), is a business entity registered to do business in the Commonwealth of

Pennsylvania, with a business address listed in the caption of this Complaint.

       4.        Upon information and belief, Defendant, New England Motor Freight, Logistics

(hereinafter "NEMF Logistics"), is a business entity registered to do business in the Commonwealth

of Pennsylvania, with a business address listed in the caption of this Complaint.

       5.        Upon information and belief, Defendant, New England Motor Freight, World

Transport, (hereinafter "NEMF World Transport"), is a business entity registered to do business in

the Commonwealth of Pennsylvania, with a business address listed in the caption of this Complaint.

       6.        Upon information and belief, Defendant, Eastern Freight Ways, lnc., is a business

entity registered to do business in the Commonwealth ofPennsylvaniat with a business address listed

in the caption of this Complaint.

       7.        Upon information and belief, Defendant, Carrier Industries, Inc., is a business entity

registered to do business in the Commonwealth of Pennsylvania, with a business address listed in

the caption of this Complaint.

       8.        Upon information and belief, Defendant, Apex Logistics, is a business entity

registered to do business in the Commonwealth of Pennsylvania, with a business address listed in


                                                   3
                                                                                            Case ID: 170702782
            Case 2:17-cv-03754-JHS Document 1 Filed 08/22/17 Page 14 of 19




the caption of this Complaint.

       9.       Defendants, named in paragraphs two (2) through eight (8) above may be collectively

referred to as "Defendants" for the entirety of this Complaint.

       10.      Upon information and belief, it is believed and therefore averred that at all relevant

times, Defendants, through their respective and/or shared agent, servant, workman, and/or employee

was driving a commercial truck involved in the incident described herein with Defendants'

respective and/or shared, express, apparent and/or implied permission. authorization, and/or consent.

       11.      Upon information and belief, it is believed and therefore averred, that at all relevant

times, Defendants, through their agency relationship with their respective and/or shared agent,

servant, work-person, and/or employee, was the operator of a commercial truck bearing Maine

License Plate Number 2546-142, which was also owned by Defendants.

       12.      Upon information and belief, it is believed and therefore averred that on or about

November 5, 2015, Plaintiff, was the operator of a commercial truck that was parked at a loading

dock of Empire Furniture, located at 9300 Ashton Road, Philadelphia, Pennsylvania.

       13.      Upon information and belief, it is believed and therefore averred that on the

aforementioned date, the aforementioned commercial truck operated by Defendants agent, servant,

work-person, and/or employee, who was acting within the scope of his or her agency relationship

with Defendants, backed his or her truck into the parked commercial truck which Plaintiff occupied,

in a negligent and careless manner, resulting in a serious motor vehicle accident, and as a result of

said accident caused injuries and damages to Plaintiff, John Rider.

       14.      At all relevant times hereto, upon information and belief, Defendants, acted and/or

failed to act by and through their respective and/or shared agent, servant, work-person, and/or

employee who was acting within the scope of his or her relationship with Defendants.


                                                   4
                                                                                            ,ase.·1·0 : 17()7("?_
                                                                                           (~                     0 ,
                                                                                                              !_Io.:.
          Case 2:17-cv-03754-JHS Document 1 Filed 08/22/17 Page 15 of 19




        15.    Upon information and belief, Defendants, are vicariously liable for the acts of their

respective and/or shared agent, servant, work-person, and/or employee, under the doctrine of

respondeat superior.

        16.    The aforesaid motor vehicle collision was the result of the negligence, and/or

carelessness, of the Defendants jointly and severally and not the result of any action or failure to act

by Plaintiff, John Rider.

        17.    As a result of the accident, Plaintiff, John Rider, suffered serious, severe and

permanent bodily injuries as set forth more fully below.


                                              COUNT I

   .John Rider v. John Sauls, NEMF, NEMF Logistics, NEMF \Vorld Transport, Eastern
              Freight Ways, Inc., Carrier Industries, Inc., and Apex Logistics

                                    Personal Injury-Negligence

        18.    Plaintiff incorporates by reference herein the allegations set forth in the

aforementioned paragraphs of this Complaint, inclusive, as if set forth herein at length.

        19.    The negligence, and/or carelessness of the Defendants, consisted, inter alia, of the

following:

               a.      Striking the parked commercial vehicle Plaintiff occupied;

               b.      Failure to maintain proper distance between the vehicles;

               c.      Operating said vehicle in a negligent, and/or careless manner without regards
                       for the rights or safety of Plaintiff or others;

               d.      Failure to have said vehicle under proper and adequate control;

               e.      Operating said vehicle at a dangerous and excessive rate of speed under the
                       circumstances;

               f.       Failure to keep a proper lookout;


                                                   5
                                                                                             Case ID: 170702782
Case 2:17-cv-03754-JHS Document 1 Filed 08/22/17 Page 16 of 19




    g.    Failure to apply brakes earlier to stop and/or control said vehicle without
          striking the vehicle in which Plaintiff occupied;

    h.   Being inattentative to his or her duty as an operator of a motor vehicle;

    I.    Driving at a high rate of speed which was high and dangerous for conditions;

    j.    Failing to remain continually alert while operating said vehicle;

    k.   Failing to perceive the highly apparent danger to others which the actions
         and/or inactions posed;

    l.   Failing to give Plaintiff meaningful warning signs concerning the impending
         collision;

    m.   Failing to exercise ordinary care to avoid a collision;

    n.   Failing to be highly vigilant and maintain sufficient control of said vehicle
         and to bring it to a stop on the shortest possible notice;

    o.   Operating said vehicle with disregard for the rights of Plaintiff, even though
         Defendant, was aware or should have been aware of the presence of Plaintiff
         and the threat of harm posed to Plaintiff;

    p.   Continuing to operate said vehicle in a direction towards Plaintifrs vehicle
         when Defendant, saw, or in the exercise of reasonable diligence, should have
         seen, that further operation in that direction would result in a collision;

    q.   Driving too fast for conditions;

    r.   Violating the applicable sections of the Pennsylvania Motor Vehicle Code
         (75 Pa. C.S. Section 1701 et seq. as amended) which constitute negligence
         per se included but not limited to:
                 §3361 Driving vehicle at safe speed; and
                 §3714 Careless driving.
    s.   operating and/or controlling the motor vehicle in violation of the Ordinances
         and Statutes of the Commonwealth of Pennsylvania pertaining to the proper
         operation of motor vehicles by specifically violating 75 Pa. C.S.A. § 1574,
         by giving permission to a male to drive his vehicle, which resulted in the
         collision and injuries caused by driver, knowing driver was unauthorized
         and/or unlicensed to driver and/or operator a motor vehicle; and

    t.   Failing to operate said vehicle in compliance with the applicable laws and
         ordinances of the Commonwealth of Pennsylvania, pertaining to the
         operation and control of motor vehic]es.


                                    6
                                                                              Case ID: 170702782
          Case 2:17-cv-03754-JHS Document 1 Filed 08/22/17 Page 17 of 19




        20.     Upon information and belief, it is believed and therefore averred that as a direct and

consequential result of the negligent, and/or careless conduct of the aforesaid Defendants, Plaintiff,

John Rider, suffered various serious and permanent personal injuries which include but are not

limited to left shoulder injuries, neck injuries) and back injuries. Plaintiff, John Rider, also suffered

a serious impairment of bodily function and/or permanent serious disfigurement and/or aggravation

of pre-existing conditions, and other ills and injuries, all to Plaintiff's great loss and detriment.

        21.     As a result of these injuries, all of which are to Plaintifrs great financial detriment

and loss, Plaintiff has in the past, is presently, and may in the future suffer great pain, anguish,

sickness and agony and will continue to suffer an indefinite time into the future.

        22.     As an additional result of the negligence, and/or carelessness of the Defendants,

Plaintiff has suffered emotional injuries, along with the physical injuries suffered.

       23.      As a further result of Plaintiff's injuries, he has in the past, is presently, and may in

the future, undergo a great loss of earnings and/or earning capacity, all to Plaintiff's further loss and

detriment.

        WHEREFORE, Plaintiff, John Rider, demands judgment against Defendants, John Sauls,

NEMF, NEMF Logistics, NEMF World Transport, Eastern Freight Ways, Inc., Carrier Industries,

Inc., and Apex Logistics in an amount in excess of $50,000.00, together with interest, costs,

attorney's fees, and any other relief this Honorable Court deems fair and appropriate.

                                              COUNT II

   John Rider v. John Sauls, NEMF, NEMF Logistics, NEMFWorld Transport, Eastern
             Freight Ways, Inc., Carrier Industries, Inc., and Apex Logistics

                                 Negligent Entrustment and Hiring

        24.     Plaintiff incorporates by reference herein the allegations set forth in the



                                                    7
                                                                                              Case ID: 170702782
          Case 2:17-cv-03754-JHS Document 1 Filed 08/22/17 Page 18 of 19




aforementioned paragraphs of this Complaint, inclusive, as if set forth herein at length.

       25.     The negligence and carelessness of Defendants, NEMF, Eastern Freight Ways, Inc.,

and Carrier Industries, Inc., consisted, inter alia. of the following:

               a.      Failing to adequately investigate or assess the driving competency and/or
                       qualification, expertise or level of expertise of their agents and/or employees
                       who they permitted to operate their vehicle;

               b.      Failing to exercise reasonable control over their vehicle with respect to the
                       manner in which the vehicle was operated;

               c.      Permitting their vehicle to be operated by a person who they knew or should
                       have known did not possess the requisite, proper or adequate driving skills
                       to safely operate said vehicle;

               d.      Failing to reasonably, properly or adequately supervise their agents and/or
                       employees;

               e.      Failing to reasonably and/or properly monitor the safe driving abilities of
                       their agents and/or employees; and

               f.      Allowing their agents, servants, work persons and/or employees to operate
                       and/or drive a motor vehicle outside of the applicable sections of the
                       Pennsylvania Motor Vehicle Code.

       WHEREFORE, Plaintiff, John Rider, demands judgment against Defendants, John Sauls,

NEMF, NEMF Logistics, NEMF World Transport, Eastern Freight Ways, Inc., Carrier Industries,

Inc., and Apex Logistics in an amount in excess of $50,000.00, together with interest, costs,

attorney's fees, and any other relief this Honorable Court deems fair and appropriate.

                                                        Respectfully Submitted,




                                                        VALERIE A. PEDICONE, ESQUIRE
                                                        Attorney for Plaintiff, John Rider



                                                   8
                                                                                            Case ID: 170702782
        Case 2:17-cv-03754-JHS Document 1 Filed 08/22/17 Page 19 of 19




                                         VE8Jl]CA'DON

       The undersigned hereby verifies that the facts contained in the foregoing document are true

based ,on first hand infonnation·and on infonnation fitmished ·to counsel and obtained in the course

ofthis tawswt.   The tmguage ofthe document is thai orcoUiisef&nd not ofthe affiant To tb.e exient
that the conten~ of~e document are based on infonnation fbmished to cowiseJ and obtained dl;l.I:ing
                     .                             '


the course of this lawsuit, the 8ffiant has relied upon counsel in taking this verification. All

~ents are founded        upon reasonable belief. This Certification is made subj~ to the penalties

of 18 Pa. C.S. §4904 relating to unswom falsification to authorities.




                                                                                          Case ID: 170702782
